     Case 3:21-cv-02815-S Document 7 Filed 01/18/22                Page 1 of 10 PageID 50



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________


ANDRII VASYLCHENKO,

        Plaintiff,

v.                                                      Civil Action No. 3:21-cv-02815-S

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, et al.,

        Defendants.

         DEFENDANTS’ MOTION TO DISMISS AND BRIEF IN SUPPORT

                                       I.        Introduction

        Plaintiff Andrii Vasylchenko alleges that a purported unreasonable delay in the

adjudication of Plaintiff’s immigration application violates both the Administrative

Procedure Act (APA) and Plaintiff’s due process rights under the Fifth Amendment. He

seeks a writ of mandamus to compel U.S. Citizenship and Immigration Services (USCIS)

to adjudicate his application. However, there is no deadline for USCIS to adjudicate, and

Plaintiff’s application has been pending for less than the relevant upper end of USCIS’s

estimated processing times. Because Plaintiff has not sufficiently alleged an

unreasonable delay, the Court lacks subject-matter jurisdiction over an APA claim. In

addition, because Plaintiff has not identified any constitutionally protected liberty or

property interest, let alone any such interest of which he was deprived, Plaintiff has failed

to state a viable due process claim. In sum, Plaintiff’s lawsuit must be dismissed.



Defendants’ Motion to Dismiss and Brief in Support – Page 1
     Case 3:21-cv-02815-S Document 7 Filed 01/18/22            Page 2 of 10 PageID 51



                                            II.      Facts

          On June 18, 2020, Plaintiff filed a Form I-485, “Application to Register

Permanent Residence or Adjust Status.” See Appendix (App.) at 1 ¶¶ 3, 4; Doc. 1 at ¶ 3.

USCIS’s Texas Service Center, which is located in the Northern District of Texas, is

currently processing Plaintiff’s application. See App. at 1 ¶ 5. On November 12, 2021,

Plaintiff filed a complaint in this Court. See Doc. 1. The complaint contains two claims

for relief. First, Plaintiff alleges that the APA requires USCIS to decide Plaintiff’s

application “within a reasonable time,” 5 U.S.C. § 555(b), and that “the application has

been in administrative processing beyond a reasonable time period for completing

administrative processing of the adjustment of status application.” Doc. 1 at ¶¶ 16, 18;

see also 5 U.S.C. § 706(1) (“The reviewing court shall compel agency action unlawfully

withheld or unreasonably delayed.”). Second, Plaintiff claims that “[t]he combined delay

and failure to act by Defendants has violated the due process rights of Plaintiff” under the

Fifth Amendment. See Doc. 1 at ¶¶ 23, 24. Plaintiff requests that the Court (1) compel

USCIS to adjudicate the Form I-485 and (2) grant him attorney’s fees and costs. See id.

at 5–6.

                              III.      Argument and Authorities

A.        Standards of Review

          1.    12(b)(1) Standard

          A court may dismiss an action for lack of subject-matter jurisdiction under Federal

Rule of Civil Procedure 12(b)(1). Once a defendant raises lack of subject-matter

jurisdiction in a motion to dismiss pursuant to Rule 12(b)(1), the plaintiff bears the


Defendants’ Motion to Dismiss and Brief in Support – Page 2
     Case 3:21-cv-02815-S Document 7 Filed 01/18/22             Page 3 of 10 PageID 52



burden of establishing that the Court has jurisdiction over the dispute. See Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994); Menchaca v. Chrysler Credit

Corp., 613 F.2d 507, 511 (5th Cir. 1980). Where, as here, a defendant supports its

argument for lack of jurisdiction with evidence, “no presumptive truthfulness attaches to

plaintiff’s allegations, and the existence of disputed material facts will not preclude the

trial court from evaluating for itself the merits of jurisdictional claims.” Williamson v.

Tucker, 645 F.2d 404, 412–13 (5th Cir. 1981).

        2.      12(b)(6) Standard

        For a complainant to state a claim for relief, the complainant must plead a short,

plain statement of the claim showing entitlement to such relief. See Fed. R. Civ. P. 8. A

complaint should be dismissed for failure to state a claim pursuant to Rule 12(b)(6) if the

plaintiff has not pled enough facts “to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). A claim is facially plausible when the plaintiff pleads facts that allow

the court “to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. Matters outside the pleadings generally may not be considered as part of a

Rule 12(b)(6) motion. See Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

B.      The Court lacks jurisdiction under the Administrative Procedure Act.

        The APA provides that “[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a

relevant statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. The APA defines

“agency action” to include “failure to act.” 5 U.S.C. § 551(13). Where agency action is


Defendants’ Motion to Dismiss and Brief in Support – Page 3
    Case 3:21-cv-02815-S Document 7 Filed 01/18/22             Page 4 of 10 PageID 53



“unlawfully withheld or unreasonably delayed,” the court “shall compel agency action.”

5 U.S.C. § 706(1). However, to the extent that “agency action is committed to agency

discretion by law,” the APA does not apply. 5 U.S.C. § 701(a)(2). Accordingly,

plaintiffs bringing an unreasonable-delay claim under the APA “must show (1) that an

agency has a nondiscretionary duty to perform some action under law, and (2) that the

agency has failed to perform said action.” Chuttani v. U.S. Citizenship & Immigration

Servs., No. 3:19-cv-02955-X, 2020 WL 7225995, at *2 (N.D. Tex. Dec. 8, 2020), appeal

docketed, No. 21-10318 (5th Cir. Mar. 31, 2021); see also Norton v. S. Utah Wilderness

Alliance, 542 U.S. 55, 64 (2004) (stating that an unreasonable-delay claim “can proceed

only where a plaintiff asserts that an agency failed to take a discrete agency action that it

is required to take”) (emphases in original).

        Here, USCIS has a nondiscretionary duty to adjudicate Plaintiff’s application,

within a reasonable time. See 5 U.S.C. § 555(b) (“With due regard for the convenience

and necessity of the parties or their representatives and within a reasonable time, each

agency shall proceed to conclude a matter presented to it.”); Mehalingam v. U.S.

Citizenship & Immigration Servs., No. 3:20-cv-03651-M, Doc. 13 at 4 (N.D. Tex. Jan.

21, 2021) (holding that “USCIS has a nondiscretionary duty to adjudicate Plaintiff’s [I-

539 and I-765] applications”). However, Plaintiff has not shown that “USCIS’s delay in

performing its nondiscretionary duty to adjudicate Plaintiff’s applications is

unreasonable.” Mehalingam, No. 3:20-cv-03651-M, at 5. There is no statutory or

regulatory deadline for the adjudication of the form of application that he submitted.

While “[i]t is the sense of Congress that the processing of an immigration benefit


Defendants’ Motion to Dismiss and Brief in Support – Page 4
    Case 3:21-cv-02815-S Document 7 Filed 01/18/22                    Page 5 of 10 PageID 54



application should be completed not later than 180 days after the initial filing of the

application,” 8 U.S.C. § 1571(b), this Court has been “disinclined . . . to find Congress’s

‘sense’ of 180 days to be an actionable deadline that waives sovereign immunity.”

Chuttani, 2020 WL 7225995, at *3; see also Kolluri v. U.S. Citizenship & Immigration

Serv., No. 3:20-cv-02897-N, 2021 WL 183316, at *5 (N.D. Tex. Jan. 17, 2021) (“Section

1571 does not establish a ‘mandatory timeline’ regarding the adjudication of H-4 status

and EAD [Employment Authorization Document] renewal petitions.”).

        USCIS discloses the average processing time for applications of the type that

Plaintiff filed. Even if USCIS were bound to process applications within those average

times, which it is not, Plaintiff’s claim would still fail. The current processing time for

asylum-based Form I-485 applications pending at the Texas Service Center, such as

Plaintiff’s application, is approximately 14.5 to 42.5 months. See App. at 1–2 ¶¶ 7–8. 1

Plaintiff filed his application on June 18, 2020. Since the filing date, approximately 19

months have passed. “The Court is reluctant to hold unreasonable any delay in

adjudicating an immigration benefit application that’s less than the upper limit of

Citizenship and Immigration Services’ current estimated processing time for that

particular application form.” Chuttani, 2020 WL 7225995, at *4 (dismissing an

unreasonable-delay claim that involved a different kind of application); see also

Mehalingam, No. 3:20-cv-03651-M, at 5–6 (dismissing an unreasonable-delay claim




1
  The estimated time ranges are also posted on USCIS’s website at https://egov.uscis.gov/processing-
times/.



Defendants’ Motion to Dismiss and Brief in Support – Page 5
    Case 3:21-cv-02815-S Document 7 Filed 01/18/22                     Page 6 of 10 PageID 55



where Plaintiff’s Form I-539 and Form I-765 applications had been pending for

approximately 6.5 months and average processing time for Forms I-539 was 7.5 to 10

months). Plaintiff’s Form I-485 application has been pending for less than the 42.5-

month upper limit of USCIS’s estimated processing time, and the application has been

pending for just a few months longer than the 14.5-month lower limit. Thus, even if

USCIS had a nondiscretionary duty to adjudicate Plaintiff’s application within the

agency’s average processing times, which it does not, Plaintiff’s claim would still easily

fail. “And because the plaintiffs have not shown an unreasonable delay in processing

their . . . applications, the Court lacks subject-matter jurisdiction.” Chuttani, 2020 WL

7225995, at *2; see also Mehalingam, No. 3:20-cv-03651-M, at 6 (finding that the Court

lacked jurisdiction “[b]ecause Plaintiffs have not alleged sufficiently that Defendants

have failed to act by not adjudicating his applications within a reasonable time”). 2


2
 Various judges in this district have recently ruled, in 24 cases also claiming unreasonable delay in the
adjudication of Forms I-485, that district courts lack jurisdiction to consider such claims. See Khokha v.
U.S. Citizenship & Immigration Servs., No. 3:21-cv-02577-L, Doc. 17 (N.D. Tex. Dec. 2, 2021);
Dommaraju v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02585-S, Doc. 13 (N.D. Tex. Oct. 28,
2021); Grover v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02408-B-BN, Doc. 55 (N.D. Tex.
Oct. 28, 2021); Gupta v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02584-S, Doc. 13 (N.D.
Tex. Oct. 28, 2021); Jampana v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02583-S, Doc. 13
(N.D. Tex. Oct. 28, 2021); Kivlekar v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02576-B-BN,
Doc. 17 (N.D. Tex. Oct. 28, 2021); Konda v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02578-
M, Doc. 15 (N.D. Tex. Oct. 28, 2021); Manamcheri Sukumar v. U.S. Citizenship & Immigration Servs.,
No. 3:21-cv-02570-M, Doc. 14 (N.D. Tex. Oct. 28, 2021); Nemade v. U.S. Citizenship & Immigration
Servs., No. 3:21-cv-02574-S, Doc. 14 (N.D. Tex. Oct. 28, 2021); Saini v. U.S. Citizenship & Immigration
Servs., No. 3:21-cv-02588-S, Doc. 14 (N.D. Tex. Oct. 28, 2021); Vasudevula v. U.S. Citizenship &
Immigration Servs., No. 3:21-cv-02392-M, Doc. 48 (N.D. Tex. Oct. 28, 2021); Ganta v. U.S. Citizenship
& Immigration Servs., No. 3:21-cv-02379-N, Doc. 49 (N.D. Tex. Oct. 26, 2021); Garlapati v. U.S.
Citizenship & Immigration Servs., No. 3:21-cv-02373-E-BN, Doc. 49 (N.D. Tex. Oct. 25, 2021); Sheth v.
U.S. Citizenship & Immigration Servs., No. 3:21-cv-02382-E-BK, Doc. 50 (N.D. Tex. Oct. 25, 2021);
Galla v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02378-X, Doc. 49 (N.D. Tex. Oct. 23,
2021); Sinkar v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02592-E, Doc. 6 (N.D. Tex. Oct. 22,
2021); Vempati v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02589-E, Doc. 7 (N.D. Tex. Oct.
22, 2021); Madhavan v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02586-E, Doc. 7 (N.D. Tex.


Defendants’ Motion to Dismiss and Brief in Support – Page 6
    Case 3:21-cv-02815-S Document 7 Filed 01/18/22                    Page 7 of 10 PageID 56



        No further analysis is necessary. However, Defendants note that, as a policy

matter, “a judicial order putting Plaintiff[] at the head of the queue simply moves all

others back one space and produces no net gain.” Kolluri, 2021 WL 183316, at *6 (citing

Mashpee Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1100 (D.C. Cir.

2003)). “Any time saved by Plaintiff[] is necessarily lost by other applicants.” Id.

Indeed, USCIS generally processes Form I-485 (and other) applications as they are

received, otherwise known as “first-in, first-out” processing. See App. at 2 ¶ 9; see also

Kolluri, 2021 WL 183316, at *5 (citing Telecomms. Research & Action Ctr. v. Fed.

Commc’ns Comm’n, 750 F.2d 70 (D.C. Cir. 1984)) (“The Court agrees with the case law

in which federal courts have held that USCIS operates under a first-in, first-out method of

adjudication that constitutes a ‘rule of reason.’”). USCIS’s Texas Service Center

currently has approximately 37,671 asylum-based Form I-485 applications pending

before it, approximately 15,136 of which were filed before Plaintiff filed his application.

See App. at 1 ¶ 6; id. at 2 ¶ 11. Simply because Plaintiff filed a lawsuit while others did

not, Plaintiff should not be allowed to “cut the line.” Moreover, if the Court were to

order Defendants to expedite Plaintiff’s application, an inevitable outcome would be


Oct. 22, 2021); Doddapaneni v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02582-E, Doc. 5
(N.D. Tex. Oct. 22, 2021); Dhanekula v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02581-X,
Doc. 5 (N.D. Tex. Oct. 21, 2021); Dasari v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-02580-
X, Doc. 5 (N.D. Tex. Oct. 21, 2021); Uppuluri v. U.S. Citizenship & Immigration Servs., No. 3:21-cv-
02572-N, Doc. 6 (N.D. Tex. Oct. 21, 2021); Nemala v. U.S. Citizenship & Immigration Servs., No. 3:21-
cv-02571-N, Doc. 6 (N.D. Tex. Oct. 21, 2021); Kulkarni v. U.S. Citizenship & Immigration Servs., No.
3:21-cv-02569-N, Doc. 7 (N.D. Tex. Oct. 21, 2021). Specifically, these decisions discuss that the Fifth
Circuit has held that district courts lack jurisdiction to consider claims regarding the pace of USCIS’s
decision-making process under both the APA and the Mandamus Act. See Bian v. Clinton, 605 F.3d 249,
255 (5th Cir. 2010) (rejecting the plaintiff’s claim that USCIS was required to adjudicate a Form I-485
petition by a certain date), vacated on other grounds, 2010 WL 3633770 (2010).



Defendants’ Motion to Dismiss and Brief in Support – Page 7
     Case 3:21-cv-02815-S Document 7 Filed 01/18/22                    Page 8 of 10 PageID 57



additional similar lawsuits. This would not only produce no net gain within the

administrative system but would also increase the burden on our judicial system. 3

C.      Plaintiff has failed to state a viable due process claim.

        Plaintiff’s due process claim under the Fifth Amendment fails. To state such a

claim, a plaintiff must first identify a protected liberty or property interest and then show

that the government deprived him of that interest without due process. See Mendias-

Mendoza v. Sessions, 877 F.3d 223, 228 (5th Cir. 2017). Plaintiff appears to claim that

“[t]he right to fundamental fairness in administrative adjudication” is a protected liberty

or property interest. See Doc. 1 at ¶ 23. Courts have rejected similar claims brought by

other plaintiffs, however. See Siddhantam v. Sessions, No. 3:17-CV-2001-S, 2018 WL

4053366, at *5 (N.D. Tex. Aug. 24, 2018) (dismissing the plaintiff’s allegation that “he




3
  The complaint also mentions 28 U.S.C. § 1361, see Doc. 1 at ¶ 13, which provides that “[t]he district
courts shall have original jurisdiction of any action in the nature of mandamus to compel an officer or
employee of the United States or any agency thereof to perform a duty owed to the plaintiff.” But a court
may grant the “drastic and extraordinary” remedy of mandamus only when a plaintiff shows that no other
adequate means of relief exists and the right to the writ is “clear and indisputable,” and the court is
“satisfied that the writ is appropriate under the circumstances.” Cheney v. U.S. Dist. Court for Dist. of
Columbia, 542 U.S. 367, 380–81 (2004). “The failure to demonstrate the existence of any of these three
elements deprives the Court of jurisdiction and the power to grant mandamus relief.” Mehalingam, No.
3:20-cv-03651-M, at 7. Here, Plaintiff has other remedies available, including bringing suit under the
APA at an appropriate time. See Chuttani, 2020 WL 7225995, at *5 (“Because the Court is convinced
issuance of the writ would be inappropriate prior to a well-timed Administrative Procedure Act challenge,
the Court finds mandamus is not an appropriate remedy under the circumstances.”); Ahmadi v. Chertoff,
522 F. Supp. 2d 816, 818 n.3 (N.D. Tex. 2007) (explaining that the Court “confines its analysis to [the
plaintiff’s] request for relief under the APA” because “[g]iven the APA’s authorization of courts to
compel agency action unreasonably delayed, the request for mandamus relief seems largely duplicative”).
Moreover, because Plaintiff has failed to allege sufficiently that Defendants have failed to act by not
adjudicating Plaintiff’s application within a reasonable time, a right to mandamus relief is neither “clear
and indisputable” nor “appropriate under the circumstances.” See Mehalingam, No. 3:20-cv-03651-M, at
7 (finding that the Court lacked jurisdiction under the Mandamus Act for the same reasons it lacked
jurisdiction under the APA). As with the APA claim, the Court lacks jurisdiction under the Mandamus
Act.



Defendants’ Motion to Dismiss and Brief in Support – Page 8
    Case 3:21-cv-02815-S Document 7 Filed 01/18/22                  Page 9 of 10 PageID 58



has a valid due process claim predicated on his ‘protected property interest in the

adjudication of I-130 petitions listing him as a beneficiary’”); Bemba v. Holder, 930 F.

Supp. 2d 1022, 1029 (E.D. Mo. 2013) (dismissing the plaintiff’s Fifth Amendment due

process claim based on the government’s delayed adjudication of a Form I-485

application, because there is no constitutionally protected liberty interest in adjustment of

status). “[I]llegal aliens do not possess a constitutionally protected right to adjustment of

status . . . [n]or does the failure to receive discretionary relief amount to a constitutionally

protected deprivation of a property or liberty interest.” Aguilera v. Holder, 354 F. App’x

882, 884 (5th Cir. 2009) (per curiam). Plaintiff’s constitutional claim cannot prevail.

                                       IV.        Conclusion

        For the foregoing reasons, the Court should dismiss Plaintiff’s claims against

Defendants and grant Defendants all other relief to which they are entitled.

                                                         Respectfully submitted,

                                                         CHAD E. MEACHAM
                                                         UNITED STATES ATTORNEY

                                                         /s/ Lisa R. Hasday
                                                         Lisa R. Hasday
                                                         Assistant United States Attorney
                                                         Texas Bar No. 24075989
                                                         1100 Commerce Street, Third Floor
                                                         Dallas, Texas 75242-1699
                                                         Telephone: 214-659-8737
                                                         Facsimile: 214-659-8807
                                                         lisa.hasday@usdoj.gov

                                                         Attorneys for Defendants




Defendants’ Motion to Dismiss and Brief in Support – Page 9
   Case 3:21-cv-02815-S Document 7 Filed 01/18/22                 Page 10 of 10 PageID 59



                                        Certificate of Service

        On January 18, 2022, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                        /s/ Lisa R. Hasday
                                                        Lisa R. Hasday
                                                        Assistant United States Attorney




Defendants’ Motion to Dismiss and Brief in Support – Page 10
